          Case 1:21-mj-00061-GMH Document 1-1 Filed 01/15/21 Page 1 of 23




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


                                              :       Case No:
                                              :
                                              :
 UNITED STATES OF AMERICA                     :       VIOLATIONS:
                                              :
                  v.                          :       18 U.S.C. § 111(b)
                                              :       (Assaulting, resisting, or impeding certain
                                              :       officers or employees)
 EDWARD JACOB LANG
                                              :
                                              :       18 U.S.C. § 231(a)(3)
                       Defendant.                     (Civil Disorder)
                                              :
                                              :       18 U.S.C. § 1752(a)
                                              :       (Restricted Building or Grounds)
                                              :
                                              :       40 U.S.C. § 5104(e)(2)
                                              :       (Violent Entry or Disorderly Conduct)

                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
                             AND ARREST WARRANT

          I, LaNard Taylor, Special Agent with the Federal Bureau of Investigation (“FBI”),

being duly sworn, deposes and states under penalty of perjury that the following is true to the

best of my information, knowledge and belief.

                                    PURPOSE OF AFFIDAVIT

          1.     This Affidavit is submitted in support of a Criminal Complaint charging

EDWARD JACOB LANG (“LANG”) with violations of 18 U.S.C. §§ 111(b), 231(a)(3), 1752(a)

and 40 U.S.C. § 5104(e)(2). Specifically, on or about January 6, 2021, LANG traveled to

Washington, D.C., and knowingly and willfully joined a crowd of individuals who forcibly

entered the grounds of the United States Capitol and impeded, disrupted, and disturbed the

orderly conduct of business by the United States House of Representatives and the United States

Senate.
        Case 1:21-mj-00061-GMH Document 1-1 Filed 01/15/21 Page 2 of 23




                                    AGENT BACKGROUND

       2.      I have been a Special Agent with the FBI since June 2016. I am presently

assigned to the Washington Field Office’s International Corruption Squad, where I am

responsible for investigating Antitrust, Foreign Corrupt Practices Act, and Kleptocracy

violations. I was previously assigned to the FBI’s Los Angeles Field Office, where I was

responsible for investigating public corruption, fraud against the government, violent crime,

narcotics offenses, and a host of other violations of federal law. Prior to my employment with the

FBI, I was a law enforcement officer in the State of Florida for four years, where I investigated

crimes relating to fraud, narcotics, violent crimes, and a variety of other criminal acts.

       3.      I am one of the agents assigned to an ongoing investigation by the FBI, United

States Capitol Police (“USCP”), Metropolitan Police Department (“MPD”), and other law

enforcement agencies, of riots and civil disorder that occurred on January 6, 2021, in and around

the United States Capitol grounds. Since I became involved in this investigation on January 6,

2021, I have conducted interviews, reviewed public tips, reviewed publicly available photos and

video, and reviewed relevant documents, among other things.

       4.      The facts in this affidavit come from my review of the evidence, my personal

observations, my training and experience, and information obtained from other agents and

witnesses. Except as explicitly set forth below, I have not distinguished in this affidavit between

facts of which I have personal knowledge and facts of which I have hearsay knowledge. This

affidavit is intended to show simply that there is sufficient probable cause for the requested arrest

warrant and does not set forth all of my knowledge about this matter.

                                         BACKGROUND
        Case 1:21-mj-00061-GMH Document 1-1 Filed 01/15/21 Page 3 of 23




       5.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, located at First Street Southeast, Washington, District of Columbia.

During the joint session, elected members of the United States House of Representatives and

Senate met in the United States Capitol to certify the vote count of the Electoral College for the

2020 Presidential Election, which took place on November 3, 2020.

       6.      The United States Capitol is secured 24 hours a day by security barriers and

USCP occupy various posts throughout the grounds. Restrictions around the United States

Capitol include permanent and temporary security barriers and posts manned by USCP. USCP

officers wore uniforms with clearly marked police patches, insignia, badges, and other law

enforcement equipment. Only authorized people with appropriate identification are allowed

access inside the United States Capitol. On January 6, 2021, the exterior plaza of the United

States Capitol was also closed to members of the public.

       7.      The January 6, 2021 joint session began at approximately 1:00 p.m. Shortly

thereafter, by approximately 1:30 p.m., the House and Senate adjourned to separate chambers to

resolve a particular objection. Vice President Michael R. Pence was present and presiding, first

in the joint session, and then in the Senate chamber.

       8.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the United

States Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the United States Capitol building and USCP were present, attempting to keep the

crowd away from the Capitol building and the proceedings underway inside. As the certification

proceedings were underway, the exterior doors and windows of the Capitol were locked or

otherwise secured.
        Case 1:21-mj-00061-GMH Document 1-1 Filed 01/15/21 Page 4 of 23




       9.      At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and past officers of the USCP, and the crowd advanced to

the exterior façade of the building. The crowd was not lawfully authorized to enter or remain in

the building and, prior to entering the building, no members of the crowd submitted to security

screenings or weapons checks by the USCP or other authorized security officials.

       10.     A short time later, at approximately 2:20 p.m., members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

President Pence, were instructed to—and did—evacuate the chambers. As such, all proceedings

of the United States Congress, including the joint session, was effectively suspended until shortly

after 8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful

entry to the United States Capitol, including the danger posed by individuals who had entered the

United States Capitol without any security screening or weapons check, Congressional

proceedings could not resume until after every unauthorized occupant had left the United States

Capitol, and the building had been confirmed secured. The proceedings resumed at

approximately 8:00 pm after the building had been secured. Vice President Pence remained in

the United States Capitol from the time he was evacuated from the Senate Chamber until the

sessions resumed.

       11.     After the Capitol was breached, USCP requested assistance from MPD and other

law enforcement agencies in the area to protect the Capitol, keep more people from entering the

Capitol, and expel the crowd that was inside the Capitol. Multiple MPD officers and other law

enforcement officers came to assist.

       12.     During national news coverage of the aforementioned events, video footage

which appeared to be captured on mobile devices of persons present on the scene depicted
        Case 1:21-mj-00061-GMH Document 1-1 Filed 01/15/21 Page 5 of 23




evidence of violations of local and federal law, including scores of individuals inside the United

States Capitol building without authority to be there.

                STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

       13.     Beginning on or about January 7, 2021, the investigative agencies began receiving

tips from the public related to the civil unrest and breach of the United States Capitol and

multiple identified LANG as being involved. The tips included photographs of LANG on the

grounds of the Capitol on January 6, 2021. At least one photograph, shown below, identified

Instagram @realjakelang (the “Subject’s Instagram”) as the account used by LANG. The

photograph appears to have been posted at some point during or after the attack on the Capitol,

and depicts LANG wearing a black jacket with numerous silver zippers and a ribbed pattern on

the shoulders, standing on the steps of the Capitol. LANG captioned the photograph, is “1776

has commenced.”




       14.     On January 9, 2021, the FBI interviewed witness 1 (“W1”) who identified LANG

as a person involved in the riot at the Capitol. W1 met LANG when they were children and has
        Case 1:21-mj-00061-GMH Document 1-1 Filed 01/15/21 Page 6 of 23




maintained a social media connection with him in excess of ten years. W1 provided photographs

and video of LANG actively participating in the attack on the Capitol. W1 identified

www.facebook.com/JAKExLANG as the account belonging to LANG, which was consistent

with the Facebook account attributed to LANG by investigators.

       15.     W1 also provided April 7th as a potential birth month and day for LANG and

believed LANG was born in either 1995 or 1996. Law enforcement agents retrieved a driver’s

license photograph of LANG, a resident of New York, DOB                  , and asked W1 if IT

recognized the person in that photograph. W1 confirmed that the person in the photograph was

LANG.

       16.     W1 also provided the below photograph of LANG, which was posted to LANG’s

Facebook page, and an accompanying video showing him and a large crowd at the lower west

terrace door of the Capitol on January 6, 2021.
        Case 1:21-mj-00061-GMH Document 1-1 Filed 01/15/21 Page 7 of 23




       17.    Additional photographs provided by W1 from LANG’s Facebook page included

more references to LANG’s participation in the attack on the Capitol - such as the following:
        Case 1:21-mj-00061-GMH Document 1-1 Filed 01/15/21 Page 8 of 23




       18.     Based on my training and experience, I understand that Instagram account holders

can post photographs, videos and temporary stories, among other things. Photographs and videos

posted to the user’s account remain displayed indefinitely, unless intentionally deleted by the

user or Instagram, while stories automatically vanish after 24 hours.

       19.     Between on or around January 6, 2021 and the present, the Subject’s Instagram

posted several stories, videos, and pictures depicting the riot that occurred at the Capitol. Some

of the depictions are described below in greater detail.

       20.     On or about January 7, 2021, LANG posted a photograph on the Subject’s

Instagram, which tagged the location as “Capitol Hill” and showed LANG smiling and wearing a

blue and white floral-patterned shirt, which matches the shirt in the still shot from the video

referenced above. The caption read, in part, “Pepper spray really does wonders for your

complexion #1776.” The photograph, shown below, appeared to be taken on the Capitol grounds
       Case 1:21-mj-00061-GMH Document 1-1 Filed 01/15/21 Page 9 of 23




and the images in the background are consistent with known images of the Capitol breach.




       21.      On or about January 8, 2021, LANG posted a video on the Subject’s Instagram,

which appeared to be a compilation of multiple videos with the caption “GIVE ME LIBERTY

OR GIVE ME DEATH.” The video depicted the following two moments:

             a. The video initially showed LANG in a crowd saying “I ain’t done yet.” LANG

                wore a black leather jacket with a blue floral-patterned shirt underneath,

                consistent with the ones depicted and pictured in paragraphs 12, 15, and 19.

             b. As the video progressed, another video included in the compilation showed an

                individual consistent with LANG with a green gas mask on and the same black

                jacket and blue floral-patterned shirt underneath. LANG appeared to film himself

                directly in front of law enforcement personnel and to be pointing at them.
Case 1:21-mj-00061-GMH Document 1-1 Filed 01/15/21 Page 10 of 23
       Case 1:21-mj-00061-GMH Document 1-1 Filed 01/15/21 Page 11 of 23




       22.     Screenshots of the stories posted to the Subject’s Instagram were captured and

provided to the FBI by witnesses. One of the screenshots, shown below, depicted an entrance to

the Capitol guarded by law enforcement officers, who were violently attacked by rioters

attempting to gain entry into the Capitol. The story had the words “THIS IS ME” and an icon

pointed at the front crowd.
       Case 1:21-mj-00061-GMH Document 1-1 Filed 01/15/21 Page 12 of 23




       23.      Based on my review of documents, videos, photographs, and my conversations

with other law enforcement agents, I know the entrance depicted in the photograph above is the

lower west terrace door of the Capitol. Several open-source videos and photographs captured the

events that transpired at the lower west terrace door. The images show LANG violently engaging

with law enforcement officers as they attempted to keep rioters out of the Capitol. Some of the

videos and photos reviewed consisted of the following:

             a. A recording of the video story (that the screenshot depicted above apparently

                came from) was posted on Twitter. In the video recording, you can see an

                individual raising a riot shield over his head as the crowd cheers and then

                violently slam the shield down on the ground repeatedly near where the officers

                are visibly lined up. That individual is in a black jacket, MPD helmet, and gas

                mask consistent with LANG in the photos above and is directly below the “This is

                me” sign added to the video.
Case 1:21-mj-00061-GMH Document 1-1 Filed 01/15/21 Page 13 of 23




  b. Multiple high resolution videos uploaded to Getty images also capture this same

     event and surrounding activity from a different angle. Video posted to the Getty

     Images database online (https://www.gettyimages.com/detail/video/trump-
Case 1:21-mj-00061-GMH Document 1-1 Filed 01/15/21 Page 14 of 23




     supporters-outside-the-u-s-capitol-hill-building-news-

     footage/1295311711?adppopup=true) shows what appears to be LANG in a large

     crowd holding a protective shield bearing resemblance to the ones used by law

     enforcement during the Capitol breach. He raised the shield above his head and

     thrusted it in the direction of the law enforcement officers.

  c. Video posted to Getty Images database online

     (https://www.gettyimages.com/detail/video/trump-supporters-outside-the-u-s-

     capitol-hill-building-news-footage/1295311606?adppopup=true) shows what

     appears to be LANG in a crowd, holding a protective shield as other members of

     the crowd swing bats and batons at officers, as well as throw projectiles at them.

     LANG went on to retrieve a riot helmet with the letters “MPDC” from the ground

     and wear it for the duration of the video. The helmet was consistent with the

     equipment used by officers of MPD protecting the Capitol, for which the

     abbreviation “MPDC” means Metropolitan Police Department of the District of

     Columbia.

  d. Video posted to Getty Images database online

     (https://www.gettyimages.com/detail/video/trump-supporters-outside-the-u-s-

     capitol-hill-building-news-footage/1295315768?adppopup=true) shows what

     appears to be LANG in the crowd outside the lower west terrace door, wearing a

     black jacket, and green gas mask as described above. In the video, LANG

     partially removed the gas mask, leaving his face exposed, which is consistent with

     LANG’s photographs above though from a significant distance.

  e. Photographs posted to Reuters online picture database show what appears to be
Case 1:21-mj-00061-GMH Document 1-1 Filed 01/15/21 Page 15 of 23




       LANG carrying the protective shield and engaging with law enforcement.

  f. Photographs on Pacific Press Agency similarly show an individual consistent with

       LANG near the arch as those around him strike at the officers with poles, along

       with later close up images of his face.

  g.    A few of the photos and still-shots from the videos are included below:
Case 1:21-mj-00061-GMH Document 1-1 Filed 01/15/21 Page 16 of 23
Case 1:21-mj-00061-GMH Document 1-1 Filed 01/15/21 Page 17 of 23
       Case 1:21-mj-00061-GMH Document 1-1 Filed 01/15/21 Page 18 of 23




       24.     An open-source search of social media depictions from January 6, 2021,

uncovered several videos and photographs at the Capitol during the breach and of LANG. Video

posted to a Facebook account shows an individual consistent in appearance with LANG in the

front of a crowd outside the lower west terrace door with a dark and red colored baseball bat.

(The individual has the same appearance, jacket, and gas mask from the earlier photos and is in

the same position as the other videos and photos, including the video labeled “This is Me” on his

Facebook and Instagram accounts.) In the video, LANG swung, thrusted, and/or jabbed the bat

at law enforcement officers multiple times. In doing so, LANG struck at least the shields the

officers held in front of them. As the video progresses, others in the crowd assist in the attack,

with some throwing items and one individual spraying the officers with a fire extinguisher. (This

is in addition to the actions in the videos described above where various individuals near LANG
           Case 1:21-mj-00061-GMH Document 1-1 Filed 01/15/21 Page 19 of 23




repeatedly strike at law enforcement officers with weapons as LANG is in the front with the

shield.)




           25.    An open-source search of social media depictions from January 6, 2021, also

uncovered additional videos and photographs of LANG discussing his thoughts about what

would follow the attack on the Capitol. In a video posted by a Twitter account holder, LANG

had a conversation with an unidentified female (“UF”), which was streamed on Instagram. The

following was an excerpt of the conversation posted online:

           UF: “So what do you think happens next?”

           LANG: “Guns…That’s it. One word. The First Amendment didn’t work, we pull out the

           Second. We’re all civilized people and we love going to work and praying to God on

           Sundays and having nice family barbeques…and that was every single person there. No
       Case 1:21-mj-00061-GMH Document 1-1 Filed 01/15/21 Page 20 of 23




       one wants to take this and and die for our rights, but dying for our rights is the only

       option that any person with a logical brain sees right now. This is it.”

       26.     On January 14, 2021, LANG posted a story to the Subject’s Instagram. Among

other things, he stated: “I want to use this time to say thank you for all the people that have been

reaching out, calling me a patriot…” “Been really amazing to have this impact on the

community, going to keep on fighting for you guys, we got some big things planned. We are not

going to let them take our Constitutional Liberties. Our God-given rights are safe within the

hearts of the patriots. So we won’t give up. You guys should not give up. Contact me if you

want to be a part of the patriot movement.”



                                         CONCLUSION

       For the reasons set forth above, I submit there is probable cause to believe that LANG,

violated:

   1. 18 U.S.C. § 111(b), which makes it a crime to forcibly assault or interfere with any person

       designated in section 1114 of this title 18 while engaged in or on account of the

       performance of official duties and uses a deadly or dangerous weapon (including a weapon

       intended to cause death or danger but that fails to do so by reason of a defective

       component). (Persons designated within section 1114 include any person assisting an

       officer or employee of the United States in the performance of their official duties.)

   2. 18 U.S.C. § 231(a)(3), which makes it a crime to commit or attempt to commit any act to

       obstruct, impede, or interfere with any fireman or law enforcement officer lawfully

       engaged in the lawful performance of his official duties incident to and during the

       commission of a civil disorder which in any way or degree obstructs, delays, or adversely
   Case 1:21-mj-00061-GMH Document 1-1 Filed 01/15/21 Page 21 of 23




   affects commerce or the movement of any article or commodity in commerce or the

   conduct or performance of any federally protected function. (“Civil disorder” means any

   public disturbance involving acts of violence by assemblages of three or more persons,

   which causes an immediate danger of or results in damage or injury to the property or

   person of any other individual. “Federally protected function” means any function,

   operation, or action carried out, under the laws of the United States, by any department,

   agency, or instrumentality of the United States or by an officer or employee thereof; and

   such term shall specifically include, but not be limited to, the collection and distribution of

   the United States mails. 18 U.S.C. §232(1).)


3. 18 U.S.C. § l752(a), which makes it a crime to (1) knowingly enter or remain in any

   restricted building or grounds without lawful authority to do; (2) knowingly, and with

   intent to impede or disrupt the orderly conduct of Government business or official

   functions, engage in disorderly or disruptive conduct in, or within such proximity to, any

   restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts

   the orderly conduct of Government business or official functions; (3) knowingly, and

   with the intent to impede or disrupt the orderly conduct of Government business or

   official functions, obstruct or impede ingress or egress to or from any restricted building

   or grounds; or (4) knowingly engage in any act of physical violence against any person or

   property in any restricted building or grounds; or attempts or conspires to do so. For

   purposes of Section 1752 of Title 18, a restricted building includes a posted, cordoned

   off, or otherwise restricted area of a building or grounds where the President or other

   person protected by the Secret Service is or will be temporarily visiting; or any building
   Case 1:21-mj-00061-GMH Document 1-1 Filed 01/15/21 Page 22 of 23




   or grounds so restricted in conjunction with an event designated as a special event of

   national significance; and

4. 40 U.S.C. § 5l04(e)(2), which makes it a crime for an individual or group of individuals

   to willfully and knowingly (D) utter loud, threatening, or abusive language, or engage in

   disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol

   Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session of

   Congress or either House of Congress, or the orderly conduct in that building of a hearing

   before, or any deliberations of, a committee of Congress or either House of Congress; (E)

   obstruct, or impede passage through or within, the Grounds or any of the Capitol

   Buildings; or (F) engage in an act of physical violence in the Grounds or any of the

   Capitol Buildings.
       Case 1:21-mj-00061-GMH Document 1-1 Filed 01/15/21 Page 23 of 23




As such, I respectfully request that the court issue an arrest warrant for LANG. The statements

above are true and accurate to the best of my knowledge and belief.




                                                        Respectfully Submitted,

                                                        _____________________
                                                        LaNard Taylor
                                                        Special Agent
                                                        Federal Bureau of Investigation



Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

telephone, this 15th day of January 2021.                                G. Michael Harvey
                                                                         2021.01.15
                                                                         09:14:42 -05'00'
                                                    ___________________________________
                                                    G. MICHAEL HARVEY

                                                    U.S. MAGISTRATE JUDGE
